Case 2:04-cr-20389-.]P|\/| Document 43 Filed 05/23/05 Page 1 of 6 Page|D 63

UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DlVlSlON

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UNiTED STATES OF AMER|CA

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-v- 2:04CR20389-01-M|

CYNTH|A McCASTER
Hande| Durham, Retained
Defense Attorney

100 North Main Street, Suite 2601
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 1, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section ML_CMQ Offense Mml£(§l
Concluded
18 U.S.C. § 1028(3)(7) identity Theft 02/26/2001 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Counts 2 through 10 are dismissed on the motion of the United States.
IT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this

district Within 30 days of any change of name, residence, or mailing address until ali fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/06/ 1968 lV|ay 20, 2005
Deft’s U.S. Marshal No.: 19879»076

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J N PHIPPS McCALLA
UN ED S ATES DlSTR|CT JUDGE

May Qg: l ,2005

Defendant’s Mai|ing Address:
4559 B|uebel|
Memphis, TN 38109

 

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Case No: 2:04CR20389-01-N|| Defendant Name: Cynthia McCASTER Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 24 Months (or 2 Years).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as fo|iows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES |V|ARSHAL
By:

 

Deputy U.S. lV|arsha|

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Case No: 2:04CR20389-01-Ni| Defendant Name: Cynthia McCASTER Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer',

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernatia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer',

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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11.

12.

13.

law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

2.

The defendant shall cooperate with DNA collection as directed by the Probation Office.

The defendant shall submit to drug, alcohol and mental health testing and treatment
programs as directed by the Probation Office.

The defendant shall participate in lvloral Recognition counseling

The defendant shall provide third-party notification including providing third-party risk
notification to employer or any employment agency

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $11,298.11

The Special Assessment shall be due immediately

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FlNE

No fine imposed.

REST|TUT|ON

Restitution in the amount of $11,298.11 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority Order

Total Amount Amount of or
Name of Payee of Loss Restitution Ordered Percentage
of Payment
Talent Force Staffing, $11,298.21 $11,298.21

ATTN: Ms. Pam Austin
5425 East Raines Road, Suite 1
Nlemphis, TN 38115

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenNise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered Will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. Additionaliy, the interest requirement is waived_

Unless the court has expressly ordered othenNise in the special instructions above, ifthisjudgment
imposes a period of imprisonment1 payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financiai Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officerl or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED sTATE DRISTIC COURT - WTERN DSTRIC oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-20389 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

Memphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

